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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
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                                                                    [pI", us Di'j TRleT COURT
UNITED STATES OF AMERICA,                   CASE NO. llCR5167        i;~;'i u:Sllm:f Of ct,lIfORW.\



                       Plaintiff,                                                     ~PUTY
               vs.                          JUDGMENT OF DISMISSAL
WILLIAM HARRIS JONES (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: DECEMBER 1, 2011
                                            WILLIAM V. GALLO
                                            UNITED STATES DISTRICT JUDGE
